                ORIGINAL ACTION JOURNAL ENTRY AND OPINION
Relator is the defendant in State v. Hall, Cuyahoga County Court of Common Pleas Case No. CR-319360. By entry received for filing on March 29, 1995, relator was sentenced in Case No. CR-319360 "for a term of 8 to 15 years." Also in that journal entry, the trial court indicated "mandatory time 8 years/agreed sentence." Complaint, Exh. C. Relator contends that the trial court imposed a sentence of 8 to 15 years, Complaint, Exh. A (transcript of plea and sentence), and that respondent clerk "added within the journal entry that the defendant-relator was to serve a mandatory eight years/agreed sentence." Complaint, par. 4.
In this action in mandamus, relator requests that this court compel respondent clerk to correct the journal entry "to have the journal entry * * * read as the sentence that was imposed upon the relator." Complaint, par. 5. Yet, "the clerk does not have the power to issue orders." State ex rel. Hussing v. Court of Common Pleas (Oct. 1, 1998), Cuyahoga App. No. 74891, unreported, at 5. After the court issues a judgment, the clerk enters the judgment on the journal. Crim.R. 32(C). Relator has not set forth any clear legal duty on the part of respondent clerk to change the journal entry.
Accordingly, respondent's motion for summary judgment or, in the alternative, motion to dismiss is granted. Relator to pay costs. The clerk is directed to serve upon the parties notice of this judgment and its date of entry upon the journal. Civ.R. 58(B)
PATRICIA ANN BLACKMON, J., and ANNE L. KILBANE, J., CONCUR.